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From:                                         Mickey Mills <mickey@millsmediation'com>
Sent:                                         Wednesday, MaY 22,2019 7:28 PM
to:                                           Steve Mitby; Lester Pines
Cc:                                           Lester Pines; Adam Milasincic; Heidi Buttchen
Subject:                                      Re: Bou-Matic Amended ComPlaint



Lester: Steve and ljust spoke and agree with you. Push back on the no jurisdiction and the computer
                                                                                                          fraud . Just as a
side note: They are reaily lost in what they put in the petition since Kotts in his email to me in February acknowledges
                                                                                                                             he

paid me the bonus as ransom and would not do it again.     Also,  by bringing up  the shot gun bought on  my  credit card  was

Kotts buying it, but he brought back in the US illegally by not paying custom duty by hidding it in his
                                                                                                         airplane' They are
really getting desperate since they are not sure about the Texas Case.

Sent from my iPhone

On May 22,2019, at 4:53 PM, Steve Mitby <slttitDV,Gliqaldfry-.Sqm> wrote:

           Fcrr   sorne reason, I didn't receive the e-filing.

           I ;igre t: with this approach, lt is interesting that tlre alleged basis for
           if A jLlf isrliction is that the "liarm" occurred in Wisconsin. This is not
           nirrrniJlly enclugh for jurisdiction. lf Kotts was right, someone who gets
           hurl irr iJ c;]r accident in lexas coulcJ sue in Wisconsin based on the fact
           thal. h* I:':lw a cioctor in Wisconsin. This is nr:tthe way personal
           irrliselir:tion is sufiposed to work^

        f-irr:y      rJc;      n91 re;illy resporld                  ta Mickey's affidavit regarding residency

        F   rom :  r P i n es [rn ai tq. Uiryf,i? tl j l -r:,lb4"cit,qglti
                    Le   ste              I
                                               I


        Sent: Wednesday, MaY 22,201,9 5:25 PM
        To: Steve Mitby <rrnitby-eAZAI.AW,{;f-llVl>; Adam Milasincic <anrilalifrC-iqcl,AznlAw'CqM>; Mickey
                                                                                                           Mills
        <f t i siicyig l I! Ll !,t t ry.tjj;!rql].!q-!i1>
        Cc: H e id i B uttc h e n < it [yl-l-t t: gtl@tr1   i3q,?-b-,r   I t I .!o   r1i   >

        Subject: Bou-Matic Amended Complaint

        Steve, Adam & Mickey:

        Attached is the amended complaint that Bou-Matic filed this afternoon. They have substantially
        expanded the fiduciary duty claims by pleading more detailed facts, The have maintained the
        computer fraud claim and continue to allege that Mickey is a resident of Colorado, despite the
        declaration that we filed in support of our motion to dismiss. My inclination is to file a motion
        to dismiss again and at the same time serve them with a 2L daV safe harbor letter and a Rule L1
        motion, as the diversity claim in frivolous.




                                                                                                        EXHIBIT D
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We should talk tomorrow. The best times for me would be after 2 p'm. CDT.

Best,

Lester
                                                                                                       is proprietary'
"This is a transmission from the law firm of Pines Bach LLP and may contain information which
                                                                                                          (a) you are not the
privileged, confldential, and protected by the attorney-client or attorney work product privileges. lf
                            noi the intend6d recipient, ihat  is, your e-mail address  was  used in error by lhe sender, you
addressee or (b) you
        know   tndt any "r"
                        Oisctosure,  copying, distribution or use  of the contents of this message  is prohibited' lf you have
should
                                                                                                     realized our error and
received this transmission in error, dt6asl Oetete and/or destroy it and, if we have not already
contacted you, notify us immediately at our telephone number (608) 251-01 01 .'



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Lester Pines

From:                            Mickey Mills < mickey@millsmediation.com >
Sent:                            Tuesday, June 18,2019 8:09 AM
To:                              smitby@azalaw.com; Adam Milasincic; Lester Pines
Subject:                         Kotts


Categories:                      Red Category



They sued me in Wisconsin to get my claim dismissed and keep me out of Texas and now the Texas claim got dismissed
and we have a good chance of dismissing their Wisconsin claim. We need to push on them in Wisconsin.

Sent from my iPhone




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Lester Pines

From:                              Mickey Mills   <   mickey@millsmediation.com   >

Sent:                              Friday, August 9,2019 5:23 PM
To:                                Steve Mitby;Adam Milasincic; Lester Pines; Beauregard Patterson; Leslie Freehill
Subject:                           Madison



Steve and Adam: please send to Lester for the Madison case everything we prepared and have for the Houston Case'
Lester correctly wants to wait and take depositions after my deposition is taken in Houston on Jurisdictional matters.
Lester has made it clear that my deposition is limited to just Jurisdiction and nothing else even though we are not limited
in the depositions of the others. I told Lester when he is ready he will take Jerry Thains depo and Steve and Kent will
take Kotts and Lisa Mills.

Sent from my iPhone




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Lester Pines

From:                               Mickey Mills < mickey@millsmediation.com >
Sent:                               Wednesday, September 11, 2019 8:06 AM
To:                                 Lester Pines; Steve Mitby; Leslie Freehill; Beauregard Patterson
Subject:                            Schedule



Lester: I want to push to get the depos done. . lf I have to give them the non jurisdictional stuff I can get it done ASAP,
but I don't want to be a chump and Kotts slow pitch us. We have what we need to prove the lawsuit was totally
fabricated by Kotts and Anderson. Kotts will do everything he can to avoid his depo so any deal we make has to be on
Kotts keep the schedule. yesterday when I was looking for the email for you it refreshed my memory about Jared and
Kotts. With Jared's and Ben's depo it will completely negate those allegations about me interfering with the company
and any negative effect on their opinion of Kotts. These depos will shor,v it clearly it is all BS just to hurt me. The depos
help us so we need to push .

Sent from my iPhone




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Lester Pines

From:                              Mickey Mills < mickey@millsmediation.com>
Sent:                              Thursday, October 3,2019 7:59 AM
To:                                Steve Mitby
Cc:                                Lester Pines
Subject:                           Re: Lisa Mills



Our job is to put as much pressure on Kotts now. The pressure is with Dave Stockwell, Todd DeMonte, Jerry Thain and
Lisa Mills. lt exposes Kotts as a tax evader, cheater and liar. lt exposes him to the buyer of Thermastor and the S20mm
holdback and the tax fraud . Remember that Dave Stockwell was also the chief financial guy for Madison One Holdings
and he has personal knowledge of everything.

Sent from my iPhone

> On Oct 2,2OL9, at 9:56 PM, Steve   Mitby <smitby@seilermitby.com> wrote:

> I agree. She and Kotts are most important.

> On 1O/2/L9, 8:56 PM, "Mickey    Mills" <mickey@millsmediation'com> wrote

>     She maybe the most important person     for us. She is the point person that accumulates all of Kotts expenses for his
personal life and bundles them as corporate expenses. She is a CPA married to a man whose family is in the insurance
business in New Orleans. She is terrified and I know it from what she said to me before we went dark' She is committed
to Kotts and after we went dark she tried to friend me on Facebook as a Shill for Kotts, but she may take the 5th, to
avoid telling the truth. She will not be able to take the heat.

      Sent from my iPhone




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